Case 1:99-cr-10091-.]DT Document 34 Filed 04/20/05 Page 1 of 3 Page|D 28

IN THE U'NITED STATES DISTRICT COURT

FoR THE wEsTERN DISTRICT oF TENNESSEE 0‘5:¢;;, §/
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UNITED sTATEs oF AMERICA .LP'C,»
c;,/.
vs. cr. No.1:99-10091-01-T

UNDREA DOUGLAS

JUDGMENT ON SUPERVISED RELEASE VIOLATION
______`_____________

This cause came to be heard on April 19, 2005, Assistant
U. S. Attorney, Victory Lee Ivy , representing the
government, and the defendant appeared in person and with
counsel, M. Dianne Smothers, Federal Public Defender, who was
appointed and admits to the allegations set forth in the
Supervised Release Violation Petition. After questioning the
defendant, hearing statements of counsel, the Court finds the
defendant guilty as charged in the Supervised Release Violation
Petition.

IT IS THEREFORE ORDERED that the defendant has violated the
terms of his supervised release and that he be sentenced to the
custody of the Bureau of Prisons for a period of EIGHT (8)

MONTHS, with no additional supervise release.

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The defendant is allowed to report on his own.

IT IS SO ORDERED.

 

   

UNI ED TATEs DIST§IC JUDGE
DATE; '

 

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This notice confirms a copy of the document docketed as number 34 in
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Honorable J ames Todd
US DISTRICT COURT

